Case 4:19-cv-07123-PJH Document 20-16 Filed 02/27/20 Page 1 of 2




      EXHIBIT 13
             Case 4:19-cv-07123-PJH Document 20-16 Filed 02/27/20 Page 2 of 2




From:                           DHL Customer Support <support@dhl.com>
Sent:                           Sunday, November 24, 2019 4:01 AM
To:                             Cooley LLP
Subject:                        DHL Shipment Notification : 1156592776



[External]


Notification for shipment event group "Delivered " for 24 Nov 19.


AWB Number: 1156592776
Pickup Date: 2019-11-21 15:44:00
Service: D
Pieces: 1
Cust. Ref:
Description: Legal Documents

Ship From:                        Ship To:
COOLEY LLP
                                  Q CYBER TECHNOLOGIES LTD
101 CALIFORNIA STREET, 5TH FLOOR
                                  22 GALGALEI HAPLADA
CALIFORNIA CA CA CALIFORNIA
                                  Herzliya, 4672222
SAN FRANCISCO, CACalifornia 94111
                                  IL
US

EVENT CATEGORY
24 Nov 19 1:59 PM - Shipment delivered - LOD,ISRAEL


Signed By - NAHOM PLD


Shipment status may also be obtained from our Internet site in USA under http://track.dhl-usa.com or
Globally under http://www.dhl.com/track.

Please do not reply to this email. This is an automated application used only for sending proactive
notifications

You are receiving this email because a notification is configured to receive notifications from ProView. If
you prefer not to receive future notification email of this type, click here to unsubscribe. Please note this
URL is only valid for 1 day.




                                                       1
